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 7                            UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
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10    TODD HALL, KEVIN BRANCA, and                        Case No.: 19cv1715-JO-AHG
      GEORGE ABDELSAYED individually
11
      and on behalf of all others similarly               ORDER REQUESTING
12    situated,                                           SUPPLEMENTAL BRIEFING
13                                      Plaintiffs,
14    v.
15    MARRIOTT INTERNATIONAL, INC., a
      Delaware corporation,
16
                                       Defendant.
17
18          In this consumer class action brought by Plaintiffs Todd Hall and George
19    Abdelsayed (“Lead Plaintiffs”) against Defendant Marriott International, Inc. (“Marriott”),
20    the parties filed cross motions for summary judgment. Dkts. 140, 143. Lead Plaintiffs also
21    filed a motion to certify the class. Dkt. 142. To aid the Court in deciding these pending
22    motions, the Court requests supplemental briefing regarding Marriott’s affirmative defense
23    that some or all of the putative class agreed to a class action waiver. The supplemental
24    briefing shall address the following: (1) what evidence is in the record that Lead Plaintiffs
25    had notice of Marriott’s terms and conditions; (2) what evidence would be relevant to
26    determining whether putative class members had notice of Marriott’s terms and conditions;
27    (3) what portion of the putative class would be subject to this affirmative defense;
28    (4) whether Marriott, if it has waived this affirmative defense with respect to Lead

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 1    Plaintiffs, has also waived with respect to the remainder of the putative class; (5) whether
 2    Lead Plaintiffs are typical and adequate class representatives if they are not subject to this
 3    affirmative defense but other members of the putative class are. The parties shall submit
 4    simultaneous briefing on the above issues on December 20, 2022. The briefing shall be
 5    limited to 15 pages per submission.
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            IT IS SO ORDERED.
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      Dated: December 6, 2022
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                                                  Hon. Jinsook Ohta
11                                                United States District Court
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